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                        Exhibit “3”
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                                           Insider Investors




    Confirmation
                                                                Asserted Claim      Allowed Claim
      Number /           Who is the current creditor?
                                                                   Amount              Amount
    Claim Number

        20167      MHL Union Alliance LLC-AGM Capital Fund        66,969,888.87                 -
        20168      MHL Union Alliance LLC - AGM Cap Fund 2        18,431,806.84                 -
         409             Redacted - Chehebar Investor              2,000,000.00        1,200,000.08
         410             Redacted - Chehebar Investor              5,346,666.68        2,293,333.25
         476             Redacted - Chehebar Investor              3,139,374.98        1,860,208.47
         477             Redacted - Chehebar Investor              1,757,500.01          531,666.51
         478             Redacted - Chehebar Investor              4,956,666.61        1,442,677.99
         483             Redacted - Chehebar Investor             10,710,333.32        2,559,191.39
         484             Redacted - Chehebar Investor              2,281,666.66          544,166.66
         499             Redacted - Chehebar Investor                241,875.00           68,437.50
         500             Redacted - Chehebar Investor                164,375.00           36,250.00
         501             Redacted - Chehebar Investor                 75,249.98           21,291.77
         502             Redacted - Chehebar Investor              3,981,250.00        1,419,010.46
         544             Redacted - Chehebar Investor             15,500,000.00        6,134,479.11

                                                               $ 135,556,653.95 $     18,110,713.19
